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 8                                    UNITED STATES DISTRICT COURT
 9                           FOR THE EASTERN DISTRICT OF CALIFORNIA
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11   UNITED STATES OF AMERICA,                          No. 2:15-mj-00207 AC
12                       Plaintiff,                     No. 2:15-cr-00218 AC
13            v.
14   WILLIAM LOUIS FILTER,                              ORDER TO SHOW CAUSE
15                       Defendant.
16

17            Defendant William Louis Filter, who was represented at trial by retained counsel, was

18   convicted by a jury on May 3, 2016 of two misdemeanor offenses. Judgment and sentence were

19   pronounced on June 17, 2016. On July 25, 2016, represented by new counsel, defendant moved

20   for leave to file an out-of-time Rule 33 motion for a new trial. ECF No. 68.1 On September 12,

21   2016, the date set for hearing on the motion, post-conviction counsel moved orally and then in

22   writing to withdraw. ECF Nos. 65, 66. The motion to withdraw was heard and granted on

23   September 26, 2016, and the matter was continued until October 11, 2016 to give Mr. Filter time

24   to secure new counsel. On October 11 Mr. Filter requested, and was granted, additional time.

25   The court instructed Mr. Filter that if he was unable to secure new counsel by the next hearing on

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         Citations to the record are to the docket in Case No. 2:15-cr-00218.
                                                         1
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 1   October 31, 2016, he should be prepared to represent himself on the pending motion for leave to
 2   file an out-of-time Rule 33 motion.
 3          On October 31, 2016, there was no appearance for defendant. Although counsel for the
 4   government reported having been contacted by someone purporting to represent Mr. Filter, ECF
 5   No. 73 (minutes of 11/31/16), no notice of appearance was filed before or after the status
 6   conference and the court was never contacted regarding the failure to appear. Further
 7   proceedings regarding the pending motion (ECF No. 68) were set for November 14, 2016. Id.
 8          On today’s date Mr. Filter again failed to appear. No attorney has appeared on his behalf.
 9   Accordingly, IT IS HEREBY ORDERED as follows:
10          1. Defendant William Louis Filter shall personally appear before the undersigned on
11              Monday, November 28, 2016 at 9:00 a.m. in Courtroom 26, and SHOW CAUSE why
12              his motion for leave to file an out-of-time Rule 33 motion for a new trial, ECF No. 68,
13              should not be denied for failure to prosecute.
14          2. Failure to appear as ordered above will result in defendant’s motion for leave to file an
15              out-of-time Rule 33 motion for a new trial, ECF No. 68, being denied for failure to
16              prosecute.
17          3. The Clerk shall serve this Order on William Louis Filter at the following address:
18                  2266 Encinal Road
                    Live Oak, CA 95953
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20          4. The Clerk shall correct the docket to reflect that Mr. Filter is proceeding in pro se,
21              counsel Berit Lynn Elam and Kresta Nora Daly having been terminated effective
22              September 26, 2016, and to list the above address as defendant’s address for service.
23          IT IS SO ORDERED.
24   DATED: November 14, 2016
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